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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

NATURAL RESOURCES DEFENSE
COUNCIL, INC., et al.,
                                                     Civil Action No. 18-cv-55
               Plaintiffs,
                                                     Before: Judge Gary S. Katzmann
       v.
                                                     SECOND DECLARATION OF
WILBUR ROSS, et al.,
                                                     ALEJANDRO OLIVERA BONILLA
               Defendants.



I, Alejandro Olivera Bonilla, declare as follows:

       1.      The facts set forth in this declaration are based on my personal knowledge. If

called as a witness in these proceedings, I could and would testify competently to these facts.

       2.      I am an employee of Center for Biological Diversity. I serve as the Center’s

Mexico Representative and work out of the Center’s office in La Paz, Mexico. I am fluent in

both Spanish and English.

       3.      Much of my work at the Center focuses on the protection of the vaquita, a species

I have been studying and advocating on behalf of since 2006, before I joined the Center. My

background is in marine biology; I have a bachelor’s degree in marine biology and a master’s

degree in science, management, and use of natural resources. As part of my position at the

Center, I regularly review scientific publications and other information regarding the vaquita and

fisheries operating within the vaquita’s habitat and have prepared several reports on the vaquita’s

threats and decline and the Mexican government’s response. I also regularly work with reporters

to provide background information about the vaquita’s situation. I submit comments to the

Mexican government regarding the vaquita and efforts to conserve the species and have met

several times with Mexican officials urging their action.

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       4.      I also regularly review the Diario Oficial de la Federación, the official gazette of

the Mexican federal government in which all regulations, including fisheries and protected

species regulations, are proposed and published. I often review the Diario two to three times

each week and also receive an email alert when notices are published regarding the Upper Gulf

of California fisheries, totoaba, or the vaquita.

       5.      I am aware that, in November 2018, the Government of Mexico committed to a

new conservation plan for the vaquita and promised to adopt new regulatory amendments to,

among other things, eliminate the current gillnet exemption for sierra, prohibit the sale,

possession, and manufacture of certain gillnets, require that fishing gear be marked to identify its

owner, and require the surrender of unauthorized gillnets. However, since November 2018, I

have not seen any proposed or final regulations or other notice in the Diario regarding these

measures.

       6.      I have now visited the town of San Felipe in the Upper Gulf of California six

times to view and study the vaquita’s habitat, to attempt to see a vaquita and to talk to fishermen

in the area, and to learn more about the vaquita’s threats first-hand.

       7.      My most recent visit to San Felipe was about two weeks ago, from April 2 to

April 4, 2019. I was asked to join a media team with reporters from EXCELSIOR, a Mexican

newspaper and TV channel, and Agencia EFE, a news agency from Spain. The media team was

visiting the area to report about the vaquita situation. I spent three days with the media team in

San Felipe, assisting by providing background information and interviews. I also attended

interviews the reporters conducted with a representative from a local fishermen’s cooperative;

the coordinator of ship operations at the Museo de la Ballena, which participates in gear retrieval

efforts in the Upper Gulf; and several fishermen. I went out on the beach, the waterfront, and to



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the San Felipe marina, to various government facilities, and on the water with the media team to

gather information and collect video and photographs. A report documenting the trip and

interviews was aired on the EXCELSIOR TV channel in three episodes on April 8, 9, and 10,

2019, and published in the EXCELSIOR newspaper in a three-part article on April 15 and 16.1

       8.      I arrived in San Felipe on April 2, 2019. San Felipe is a small town located

onshore in front of the vaquita refuge in the Upper Gulf of California. Since 2015, the Mexican

government has banned the use of gillnets in the waters off of San Felipe, except in the curvina

and sierra fisheries. The map below, which was published in the Diario Oficial de la Federación

by the Mexican agency SAGARPA in June 2017, shows San Felipe and the gillnet prohibition

area (the “Area de prohibition de todas las redes de enmalle incluyendo ‘agallares’” marked in

blue stripes).2 Additionally, the Mexican government has designated specific, required departure

and landing points for fishing vessels in order to facilitate inspection, including just one site in

the city of San Felipe, at the San Felipe public marina.3




1
  The television report (in Spanish) is available here: Part 1:
https://www.youtube.com/watch?v=75lyFoMCDyI; Part 2:
https://www.youtube.com/watch?v=stxX9CYi0Mw; Part 3:
https://www.youtube.com/watch?v=nUzY9-asO78. The newspaper articles (also in Spanish) are
available here: Part 1: https://www.excelsior.com.mx/nacional/vaquita-marina-cronica-de-una-
extincion-anunciada-1-de-3/1307832; Part 2: https://www.excelsior.com.mx/nacional/vaquita-
marina-cronica-de-una-extincion-anunciada-2-de-3/1307907; Part 3:
https://www.excelsior.com.mx/nacional/vaquita-marina-cronica-de-una-extincion-anunciada-3-
de-3/1308023
2
  http://dof.gob.mx/nota_detalle.php?codigo=5488674&fecha=30/06/2017; see also AR103 at
3025 (English translation of 2017 regulation).
3
  AR103 at 3022-24. https://goo.gl/maps/mTmJDqUYnyMBbmCn6
                                                 3
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       9.      On April 2, from the San Felipe waterfront and beach, I spotted at least 10 fishing

boats going in and out to sea in the Gulf of California with fishing gear onboard, departing

directly from the beach instead of the official departure checkpoints, thus avoiding inspection. I

have included several of my photographs of these fishing boats departing below; however, I also

viewed some of the boats from a much closer point on the beach. I was not comfortable taking




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photos close to the boats, but when I approached them I could clearly see gillnets aboard some of

the boats. I did not see any enforcement officers in the area.




       10.     On April 3, the media team rented a sport-fishing boat, and I went out on the Gulf

with the team. I saw three fishermen on a boat using a drift gillnet just offshore of San Felipe. I


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noted the coordinates where I saw three fishermen, which was inside the gillnet prohibition area.

The media team interviewed the fishermen, who did not seem concerned about fishing with a

gillnet on the open water or being videotaped by the news media doing so. In the boat, the

fishermen showed us shrimp, sierra, and curvina that they had caught that day with their gillnet. I

have included my photos of the fishermen and their catch, which I identified as shrimp, sierra,

and curvina. I saw the same three fishermen again the next day on the water around the same

area, waiting after their placed his gillnet in the water.




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Shrimp caught with a gillnet off of San Felipe April 4, 2019 in fishermen’s boat




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Curvina and other fish caught with a gillnet off of San Felipe on April 3, 2019 in fishermen’s
boat




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Curvina and sierra caught with a gillnet off of San Felipe on April 3, 2019

       11.     Also on April 3, while on the water just in front of San Felipe, I saw several

gillnets actively deployed with small buoys. I also saw gillnets washed-up on the rocks.

       12.     On April 4, the media team and I again went out on the water near San Felipe. In

plain view, we saw a fishing boat with five fishermen at around 9 am placing and taking out a

totoaba gillnet. We approached them and requested permission to videotape them, which they

permitted. I have included my photos of the fishermen checking their gillnet below, and I saw a

big fish that they had on their boat that appeared to be a totoaba. I saw them recovering the

gillnet and then deploying it in less than an hour.




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       13.    During the 3 days I was in San Felipe, I did not see any enforcement officials,

including officers from the Mexican agencies of Profepa, Conapesca, or the Mexican Navy

conducting inspections in the area. On April 3 and 4, we visited the San Felipe Marina, one of

official departure check-points, and I did not see any enforcement authority on either day at the

Marina; however, I saw several boats with fishing gear departing from the marina without

inspection. On a previous trip to San Felipe in March 2018, I did see Conapesca enforcement

officials at the San Felipe Marina, conducting inspections. The San Felipe Conapesca office is

located in front of the marina, and it was closed during the days we were in San Felipe, which

was in the middle of the week.

       14.    Overall, I was disappointed and saddened to witness active, illegal, and

unconcealed gillnet fishing off of San Felipe and the lack of uniformed enforcement officials. I

remain very concerned about the vaquita’s future.




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